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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

PAUL ANDRE CUEVAS                                 *
PLAINTIFF                                         *
                                                  *   CIVIL ACTION NO. 17-694-JWD-RLB
VS.                                               *
                                                  *
CAPITAL ONE, N.A.                                 *
DEFENDANT                                         *

                                  NOTICE OF SETTLEMENT

       NOW INTO COURT, through undersigned counsel, comes Paul Andre Cuevas, plaintiff

herein, who notifies the court that he has settled his claims against defendant Capital One, N.A., and

requests the court enter a conditional dismissal of his claims.

                                                      s/Garth J. Ridge
                                                      GARTH J. RIDGE
                                                      Bar Roll Number: 20589
                                                      Attorney for Plaintiff
                                                      251 Florida Street, Suite 301
                                                      Baton Rouge, Louisiana 70801
                                                      Telephone Number: (225) 343-0700
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                                                      E-mail: GarthRidge@aol.com

                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on the 13th day of June, 2018, I electronically filed the foregoing
with the Clerk of court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record.


                                                      s/Garth J. Ridge
                                                      GARTH J. RIDGE
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